Dear Judge Evans,
This office is in receipt of your request for an opinion of the Attorney General in regards to whether your appointment to the Grant Parish Fire District #3 Board of Commissioners is in conflict with your elected position as Justice of Peace for District E in Grant Parish.
Our response is governed by the following provision of Louisiana's Dual Officeholding and Dual Employment law. LSA-R.S.42:63 (D) states in pertinent part that:
      No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office.
You stated in your request that you were appointed by the parish police jury to the board of commissioners fire district #3 and that you receive no salary for your service in that position, but you failed to indicate whether this is a full-time or part-time position.
"Full-time" is defined in LSA-R. S. 42:62 (4) as the period of time which a person normally works or is expected to work in an appointive office or employment and which is at least seven hours per day of work and at least thirty-five hours per week of work. "Part-time" is defined in LSA-R.S. 42:62 (5) as the period of time which a person normally works or is expected to work in an appointive office or employment which is less than the number of hours of work defined in this section as full-time.
Assuming that your appointed position on the board of commissioners is part-time, the above stated dual officeholding statute would not prohibit your serving on the board of commissioners while holding the locally elected office of justice of the peace. Conversely, if you work at least seven hours per day and at least thirty-five hours per week at the appointive position on the board of commissioners, the appointive position would be classified as full-time which under dual officeholding law would prohibit you from occupying such a position while also holding the locally elected office of justice of the peace.
Therefore, it is the opinion of this office that you, as a Justice of the Peace of District E in Grant Parish, may also serve on the Board of Commissioners for the Grant Parish Fire District #3, provided that the appointive position is part-time and not full-time.
We would caution you, however, to further seek the opinion of Dr. Hugh Collins, Judicial Administrator, as to potential ethical considerations arising under the Judicial Code of Conduct. Dr. Collins may be contacted at the Louisiana Supreme Court, 301 Loyola Avenue, Room 109, New Orleans, Louisiana, 70112.
Should you have any further questions concerning this matter, please feel free to contact this office.
Very truly yours,
                                       RICHARD P. IEYOUB ATTORNEY GENERAL
                                    BY: __________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
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